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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                   Chapter 11

Yield10 Bioscience, Inc., et al.,                        Case No. 24-12752 (MFW)

               Debtors. 1                                (Joint Administration Requested)


                 NOTICE OF AMENDED 2 AGENDA OF MATTERS SCHEDULED
                  FOR HEARING ON DECEMBER 10, 2024, AT 2:00 P.M. (ET)


     THIS HEARING WILL BE CONDUCTED BY ZOOM. PARTIES AND WITNESSES
     ARE PERMITTED, BUT NOT REQUIRED, TO APPEAR IN PERSON. THE COURT
                           HAS NO PREFERENCE.

        TO ATTEND THE HEARING REMOTELY, PLEASE REGISTER USING THE
            ECOURT APPEARANCES TOOL ON THE COURT’S WEBSITE AT
              WWW.DEB.USCOURTS.GOV OR CLICK THE BELOW LINK:
                 https://ecf.deb.uscourts.gov/cgi-bin/nysbAppearances.pl

    PARTIES ARE REQUIRED TO REGISTER FOR THE HEARING NO LATER THAN
    10:00 A.M. (ET) DECEMBER 10, 2024. YOU MUST USE YOUR FULL NAME WHEN
    LOGGING INTO ZOOM OR YOU WILL NOT BE ALLOWED INTO THE MEETING.

        AFTER REGISTERING YOUR APPEARANCE, YOU WILL RECEIVE A
    CONFIRMATION EMAIL. ZOOM INFORMATION WILL BE SENT OUT PRIOR TO
                            THE HEARING.


I.        PETITIONS

          1.       Voluntary Chapter 11 Petitions

                   a.        Yield10 Bioscience, Inc. [Case No. 24-12752; D.I. 1; filed 12/6/2024]

                   b.        Yield10 Bioscience Securities Corp. [Case No. 24-12753; D.I. 1; filed
                             12/6/2024]

                   c.        Yield10 Oilseeds Inc. [Case No. 24-12755; D.I. 1; filed 12/6/2024]

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  The last four digits of the taxpayer identification numbers of the Debtors follow in parentheses: (i) Yield10
Bioscience, Inc. (x8289), (ii) Yield10 Bioscience Securities Corp. (x7435), and (iii) Yield10 Oilseeds Inc. (x9469).
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    Amended agenda items appear in bold.


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II.      DECLARATION IN SUPPORT OF FIRST DAY PLEADINGS

         2.    Declaration in Support of Chapter 11 Petitions and First Day Motions [D.I. 6;
               filed 12/6/24]

               Related Documents:

               a. Notice of Filing of Bankruptcy Petition, First Day Pleadings, and Notice of
                  First Day Hearing [D.I. 9; filed 12/9/24]

               Status: The Declaration will be relied upon as evidentiary support for the first
               day matters listed below.

III.     MATTER GOING FORWARD

         3.    Motion of the Debtors for an Order Authorizing Joint Administration of
               Chapter 11 Cases [D.I. 3, filed 12/6/24]

               Related Documents:

               a. Notice of Filing of Bankruptcy Petition, First Day Pleadings, and Notice of
                  First Day Hearing [D.I. 9; filed 12/9/24]

               Status: This matter is going forward.

         4.    Motion for Interim and Final Orders Pursuant to Sections 105(A), 363(B),
               363(C), 507(A), 541(B)(7), 541(D), 1107(A) and 1108 of the Bankruptcy Code
               and Fed. R. Bankr. P. 6003 and 6004 (I) Authorizing Debtors to (A) Pay Certain
               Prepetition Wages, Compensation, and Employee Benefits, (B) Continue
               Payment of Wages, Compensation, and Employee Benefits in the Ordinary
               Course of Business and (C) Continue Payment of Employment, Unemployment,
               Social Security and Other Taxes Incident to the Employee Obligations; and (II)
               Authorizing And Directing Debtors’ Third-party Payroll Administrator and
               Debtors’ Bank to Receive, Process, Honor, and Pay Checks Issued and
               Electronic Payment Requests Relating to the Foregoing [D.I. 4, filed 12/6/24]

               Related Documents:

               a. Notice of Filing of Bankruptcy Petition, First Day Pleadings, and Notice of
                  First Day Hearing [D.I. 9; filed 12/9/24]

               Status: This matter is going forward with respect to an interim order.

         5.    Motion of the Debtors for Interim and Final Orders Pursuant to 11 U.S.C. §§
               105(A), 345(B), 363, 1107 and 1108 Authorizing: (A) Continued Maintenance
               of Existing Bank Accounts, (B) Continued Use of Existing Business Forms and
               (C) Waiver of Section 345(B) Deposit and Investment Requirements and Certain
               United States Trustee Guidelines [D.I. 5, filed 12/6/24]
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               Status: This matter is going forward with respect to an interim order.

         6.    Motion of Debtors for Entry of: (I) an Order (A) Approving Form and Manner
               of Notices and (B) Scheduling a Sale Hearing and Establishing Dates and
               Deadlines Related Thereto, Including Treatment of Executory Contracts and
               Unexpired Leases; and (II) an Order (A) Authorizing the Sale of Substantially
               All of the Debtors' Assets Free and Clear of Liens, Claims, Encumbrances, and
               Other Interests, (B) Granting the Buyer the Protections Afforded to a Good Faith
               Buyer, and (C) Granting Related Relief [D.I. 7, filed 12/6/24]

               Related Documents:

               a. Notice of Filing of Bankruptcy Petition, First Day Pleadings, and Notice of
                  First Day Hearing [D.I. 9; filed 12/9/24]

               b. Notice of Filing of Revised Schedule of Cure Amounts [D.I.11; filed
                  12/9/24]

               Status: This matter is going forward with respect to scheduling and approval of
               notices.

                                                 Respectfully submitted,

Dated: December 9, 2024                          THE ROSNER LAW GROUP LLC
       Wilmington, Delaware
                                                 /s/ Frederick B. Rosner
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                                                 Possession




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